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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS



 UNITED STATES OF AMERICA,

     v.
 WESELY MACGREGOR,                                        Crim. No. 19-10141-LTS-2

                 Defendant.




  DEFENDANT MACGREGOR’S MOTION TO DISMISS THE INDICTMENT UNDER
            FEDERAL RULE OF CRIMINAL PROCEDURE 12(B)

        Now comes the defendant, Wesley MacGregor, and respectfully moves to dismiss Counts

1 through 3 of the indictment under Federal Rule of Criminal Procedure 12(b)(3)(B)(5): Count

(1) Conspiracy to Obstruct Justice pursuant to 18 U.S.C. § 1512(k); Count (2) Obstruction of

Justice pursuant to 18 U.S.C. § 1512(c)(2); and Count (3) Obstruction of a Federal Proceeding

pursuant to 18 U.S.C. § 1505. The grounds for this motion, which are explained in detail in the

accompanying Memorandum of Law, include: (1) the indictment fails to state an offense under

the federal obstruction of justice statutes, and (2) the application of the federal obstruction

statutes to Court Officer MacGregor would violate the Constitution.

        For the reasons outlined in the accompanying Memorandum of Law, Counts 1 through 3

of the indictment should be dismissed under Federal Rule of Criminal Procedure 12(b)(3) for

failure to state an offense.

                               REQUEST FOR ORAL ARGUMENT

        Pursuant to Local Rule 7.1(d), MacGregor respectfully requests oral argument on this

motion.
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Dated: September 6, 2019                           Respectfully submitted,

                                                   /s/Rosemary Curran Scapicchio

                                                   Rosemary Curran Scapicchio
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                                                   Boston, Massachusetts 02108
                                                   Counsel for Defendant Wesley MacGregor




              CERTIFICATE OF COMPLIANCE WITH LR 112.1 and LR 7.1



        I hereby certify that counsel have communicated about the subject matter of this motion
in an effort to narrow differences prior to filing.



                                              /s/ Rosemary Curran Scapicchio




                                 CERTIFICATE OF SERVICE



        I hereby certify that these documents filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies/PDFs will be sent by regular mail/email on this date to those indicated as non-
registered participants.



                                              /s/ Rosemary Curran Scapicchio
